         CASE 0:06-cr-00190-RHK-FLN                    Doc. 32    Filed 11/02/06       Page 1 of 1




                                 UNITED STATES DISTRICT COURT
                                    DISTRICT OF MINNESOTA



United States of America,

                                          Plaintiff,        Criminal No. 06-190 (RHK/FLN)

                 v.                                         ORDER FOR EXTENSION OF
                                                            TIME TO FILE OBJECTIONS
Jose Luis Valente-Nava,                                     AND POSITION PLEADINGS

                                       Defendant.



Andrew Dunne, Assistant United States Attorney, 300 South Fourth Street, Room 600,
Minneapolis, MN 55415, counsel for Plaintiff.

Andrea K. George, Assistant Federal Defender, 300 South Fourth Street, Room 107,
Minneapolis, MN 55415, counsel for Defendant.


         The Defendant's Motion for Extension of Time is GRANTED.

         IT IS HEREBY ORDERED that:

         All written correspondence be due to the Probation Office by November 22, 2005;

and

         Position pleadings, if necessary, be filed electronically with the Clerk of Court by

November 29, 2006.


Dated:      11/2/06                                      s/Richard H. Kyle
                                                         Richard H. Kyle
                                                         United States District Court Judge
